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                           UNITED STATES DISTRICT COURT
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11                       CENTRAL DISTRICT OF CALIFORNIA
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13 PHILLIP MADISON JONES,                       Case No. 2:21-cv-05890-FWS-SK
14                 Plaintiff,
                                                JUDGMENT GRANTING THE
15         v.                                   PARTIES’ JOINT STIPULATION
                                                REQUESTING ENTRY OF JOINT
16                                              PROPOSED JUDGMENT [231] AND
   TWENTIETH CENTURY FOX FILM                   DISMISSING WITH PREJUDICE
17 CORPORATION D/B/A 20TH CENTURY               PLAINTIFF’S FOURTH AMENDED
   STUDIOS; THE WALT DISNEY                     COMPLAINT [126]
18 COMPANY; 20TH CENTURY STUDIOS,
   INC.; CREATIVE ARTISTS AGENCY,
19 LLC; RT FEATURES; RT FEATURES
   U.S. LLC, JAMES GRAY, AND ETHAN
20 GROSS,
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22                 Defendants.
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1             On August 10, 2023, the court heard oral argument on the following three
2    motions regarding Plaintiff Phillip Madison Jones’s (“Plaintiff”) Fourth Amended
3    Complaint, (Dkt. 126):
4                  1. A Motion for Summary Judgment, or in the Alternative, Partial Summary
5        Judgment as to Counts One through Three of Plaintiff’s Fourth Amended Complaint
6        filed by Defendants James Gray, Ethan Gross, and RT Features U.S., LLC, (Dkt. 150
7        (the “Writer Defendants’ Motion”));
8                  2. A Motion for Summary Judgment, or in the Alternative, Partial Summary
9        Judgment as to Count Four of Plaintiff’s Fourth Amended Complaint and Joinder in
10 the Writer Defendants’ Motion as to Counts One through Three filed by Defendants
11 20th Century Studios, Inc., Twentieth Century Fox Film Corporation, and The Walt
12 Disney Company (collectively, the “Distributor Defendants”), (Dkt. 152 (the
13 “Distributor Defendants’ Motion”)); and
14                 3. A Motion for Summary Judgment, or in the Alternative, Summary
15 Adjudication as to the claims asserted against Defendant Creative Artists Agency,
16 LLC1 and joinder in the Writer Defendants’ Motion and the Distributor Defendants’
17 Motion, (Dkt. 149 (“CAA’s Motion”)).2
18            On November 28, 2023, the court granted the Summary Judgment Motions in
19 their entirety. (Dkt. 227.) On December 19, 2023, the Parties filed a Joint Stipulation
20 Requesting Entry of Joint Proposed Judgment (“Stipulation”). (Dkt. 231.)
21            Based on the record in this matter, including the court’s November 28, 2023,
22 Order and the Stipulation, it is HEREBY ORDERED, ADJUDGED, AND
23 DECREED THAT:
24            1.     The Stipulation is GRANTED.
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26   Defendants James Gray, Ethan Gross, RT Features U.S., LLC, 20th Century Studios,
   Inc., Twentieth Century Fox Film Corporation, The Walt Disney Company, and
27 Creative Artists Agency, LLC are collectively referred to as “Defendants.” Defendants
   and Plaintiff are collectively referred to as the “Parties.”
28 2 The Distributor Defendants’ Motion, the Writer Defendants’ Motion, and CAA’s
   Motion are collectively referred to as the “Summary Judgment Motions.”
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1          2.      Plaintiff’s Fourth Amended Complaint, (Dkt. 126), and this action as a
2    whole are hereby DISMISSED in their entirety WITH PREJUDICE as to all
3    Defendants.
4          3.      Pursuant to a written settlement agreement of the Parties, Plaintiff has
5    waived his right to appeal herein, and as such, this FINAL, NON-APPEALABLE
6    JUDGMENT is hereby entered against Plaintiff and in favor of Defendants.
7          4.      Pursuant to said settlement, in exchange for Plaintiff’s waiver of his right
8    to appeal, Defendants have waived their right as the prevailing parties to seek
9    reasonable attorneys’ fees and costs under Federal Rule of Civil Procedure 54(d) and
10 Section 505 of the Copyright Act, 17 U.S.C. § 505, and accordingly, all parties shall be
11 responsible for their own respective fees and costs.
12         5.      The court shall retain jurisdiction for purposes of enforcing the settlement
13 of the Parties, until further order of the court.
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15         IT IS SO ORDERED AND ADJUDGED.
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      Dated: January 5, 2024                     ______________________________
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                                                 Hon. Fred W. Slaughter
20                                               UNITED STATES DISTRICT JUDGE
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